Case 1:18-cv-05757-.]PO Document 6 Filed 06/27/18 Page 1 of 12

Joseph G. Sansone

Chief, Market Abuse Unit
Simona K. Suh

David C. Austin

Melanie A. MacLean
Attorneys for Plaintiff
SECURITIES AND EXCHANGE COMMISSI()N
New York Regional Office
Brookfield Place

200 Vesey Street, Suite 400
New York, NY 10281

(212) 336-9146 (Austin)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff, No. 18 Civ.
-against- COMPLAINT
SEBASTIAN PINTO-THOMAZ, JURY TRIAL DEMANDED
ABELL OUJADDOU, and
.]EREMY MILLUL,
Defendants.

 

 

Plaintiff Securities and Exchange Commission (“Commission”) files this Complaint
against defendants Sebastian Pinto-Thomaz (“Pinto-Thomaz”), Abell Oujaddou (“Ouj addou”),
and Jeremy Millul (“l\/Iillul”) (collectively, “Defendants”) and alleges as follows:

SUMMARY

l. This case involves insider trading by Pinto-Thomaz, Ouj addou, and Millul in
advance of the March 20, 2016 announcement (the “Announcement”) that The Sherwin-
Williams Company (“Sherwin-Williams”) had agreed to acquire The Valspar Corporation
(“Valspar”). In early March 2016, Pinto~Thomaz, a credit ratings analyst at a major credit

ratings agency (the “Credit Ratings Agency”), learned of the impending acquisition When

Case 1:18-cv-05757-.]PO Document 6 Filed 06/27/18 Page 2 of 12

Sherwin-Williams consulted the Credit Ratings Agency about the deal. Shortly thereafter, Pinto-
Thomaz misappropriated this confidential information by tipping his friends Ouj addou and
Millul to purchase Valspar securities After the acquisition was made public, Ouj addou and
Millul sold their Valspar securities generating total illicit profits of approximately $300,000.

2. Pinto-Thomaz began learning material nonpublic information about the
acquisition approximately twelve days before the Announcement, when Sherwin-Williams
reached out to the Credit Ratings Agency to seek its view on the potential effect of the
acquisition on Sherwin-Williams’s credit rating

3. On the morning of March 8, 2016, within minutes of his first contact with a
representative of Sherwin-Williams about the proj ect, Pinto-Thomaz called and then texted
Ouj addou. Later that day and in the following days, Pinto-Thomaz continued to work on the
project related to the planned Sherwin-Williams transaction with Valspar and to communicate
with Ouj addou.

4. On the morning of March 10, 2016, shortly after communicating with Pinto-
Thomaz, Ouj addou made his first purchase ever of Valspar stock, purchasing 1,000 shares in a
personal trading account.

5. Between March ll and March 18, Pinto-Thomaz continued to communicate with
Ouj addou, who purchased an additional 7,630 shares of Valspar stock during that same time
period.

6. Pinto-Thomaz also tipped his friend Millul. In the early morning hours of
Sunday, March 13, 2016, just a few days after Pinto-Thomaz first learned of the acquisition,
Millul opened a trading account with an online broker~dealer (the “Online Broker”). Prior to

this, Millul did not hold a brokerage account.

Case 1:18-cv-05757-.]PO Document 6 Filed 06/27/18 Page 3 of 12

7. After communicating with Pinto-Thomaz, Millul, on Wednesday and Friday,
March 16 and 18, 2016, purchased 480 shares of Valspar stock and 75 Valspar call options with
the expiration date of April 15, 2016.

8. On Sunday, March 20, 2016, Sherwin-Williams and Valspar announced the
acquisition, and on the next trading day, Monday, March 21, 2016, the price of Valspar shares
increased by more than 23% over the prior trading day’s closing price.

9. Millul sold all of his Valspar shares and options that same morning, March 21,
2016, realizing a profit of approximately $107,000. Oujaddou sold his shares later that week, on
March 23 and 24, 2016, realizing a profit of approximately $l92,000.

VIOLATIONS

10. By virtue of the conduct alleged herein, each of the Defendants, directly or
indirectly, singly or in concert, violated Section lO(b) of the Securities Exchange Act of 1934
(“Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].
Unless the Defendants are permanently restrained and enj oined, they will again engage in the
acts, practices, transactions, and courses of business set forth in this Complaint and in acts,
practices, transactions, and courses of business of similar type and obj ect.

NATURE OF THE PROCEEDINGS AND RELIEF SOUGHT

ll. The Commission brings this action pursuant to the authority conferred upon it by
Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)] and seeks to restrain and permanently
enjoin the Defendants from engaging in the acts, practices, transactions, and courses of business
alleged herein. In addition, the Commission seeks a final judgment (a) ordering the Defendants

to disgorge their ill-gotten gains, together with prejudgment interest thereon; and (b) ordering the

Case 1:18-cv-05757-.]PO Document 6 Filed 06/27/18 Page 4 of 12

Defendants to pay civil monetary penalties pursuant to Section 21A of the Exchange Act [15
U.S.C. § 78u-l].
JURISDICTION AND VENUE

12. This Couit has jurisdiction over this action pursuant to Sections 21(d), 21A, and
27 of the Exchange Act [15 U.S.C. §§ 78u(d), 78u-l, and 78aa].

13. Venue lies in this District pursuant to Section 27 of the Exchange Act [15 U.S.C.
§ 78aa]. Certain of the acts, practices, transactions, and courses of business alleged in this
Complaint occurred within the Southern District of New York. For example, Pinto-Thomaz
obtained the relevant material nonpublic information through his work at the New York City
headquarters of the Credit Ratings Agency. Moreover, all three Defendants reside in the
Southern District of New York, and resided and worked there during the relevant period.

DEFENDANTS

14. Pinto-Thomaz, age 33, is a resident of New York, New York. Since at least
2015, Pinto-Thomaz has served as a junior credit ratings analyst at the Credit Ratings Agency, a
nationally recognized statistical rating organization, based in New York, New York.

15. Oujaddou, age 55, is a resident of New York, New York. Since 2010, Oujaddou
has co-owned and co-managed an upscale hair salon in New York, New York. According to the
salon’s website, Ouj addou has over 30 years of experience as a professional hair stylist and has
worked with numerous celebrities.

16. Millul, age 32, is a resident of New York, New York. During the relevant time,

Millul owned and managed a jewelry boutique with offices in Manhattan’s Diamond District.

Case 1:18-cv-05757-.]PO Document 6 Filed 06/27/18 Page 5 of 12

RELEVANT ENTITIES

17. Sherwin-Williams is an Ohio corporation headquartered in Cleveland, Ohio, and
a maj or paint and coating manufacturer. At all relevant times, its common Stock was registered
with the Commission pursuant to Section l2(b) of the Exchange Act and traded on the New York
Stock Exchange under the symbol SHW.

18. Valspar was a Delaware corporation headquartered in Minneapolis, Minnesota,
and a maj or paint and coating manufacturer. Before its acquisition by Sherwin-Williams, its
common stock was registered with the Commission pursuant to Section 12(b) of the Exchange
Act and traded on the New York Stock Exchange under the symbol VAL. On June 1, 2017,
Sherwin-Williams completed its acquisition of Valspar.

FA_CTS
A. Pinto-Thomaz’s Relationships with Ouiaddou and Millul

19. As of March 2016, Pinto-Thomaz and Ouj addou had been friends for years,
frequently communicating about personal matters by text message and by phone.

20. As of March 2016, Pinto-Thomaz and Millul Were also long-time friends,
frequently communicating about personal matters by text message, phone, and email.

B. Pinto-Thomaz Tips Ouiaddou and Ouiaddou Trades

21. As of March 2016, Pinto-Thomaz Was employed by the Credit Ratings Agency in
its New York City office as a credit ratings analyst since at least 2015. In that capacity, he was
responsible for analyzing the credit rating of Sherwin-Williams, among other issuers.

22. Pinto-Thomaz owed a duty of trust and confidence to his employer, the Credit
Ratings Agency, and was obligated to maintain the confidentiality of information learned in the

course of his employment Among other restrictions, he was subject to the Credit Ratings

Case 1:18-cv-05757-.]PO Document 6 Filed 06/27/18 Page 6 of 12

Agency’s policy on the treatment of confidential information, which required employees not to
disclose confidential information learned in connection with their work, and not to use or share
that information for their personal benefit.

23. Pinto-Thomaz began learning material nonpublic information about the upcoming
acquisition of Valspar in or about early March 2016 when Sherwin-Williams reached out to the
Credit Ratings Agency to seek its view on the potential effect of the acquisition on Sherwin-
Williams’s credit rating.

24. On the morning of March 8, 2016, a representative of Sherwin-Williams called to
speak with Pinto-Thomaz in order to set up a meeting between Sherwin-Williams and the Credit
Ratings Agency concerning the upcoming acquisition. At 10:08 a.m., Pinto-Thomaz returned
that representative’s call and spoke with him for three minutes. At 10:17 a.m., minutes after his
call with Sherwin-Williams, Pinto-Thomaz called and then texted Oujaddou.

25. After Pinto-Thomaz’s initial contacts with the representative of Sherwin-Williams
on March 8, 2016, the Credit Ratings Agency and Sherwin-Williams entered into an agreement
for “RES,” or “Ratings Evaluation Service.” An RES is a service that internal Credit Ratings
Agency documents described as “a confidential, committee-based evaluation of the probable
effect on a client’s credit ratings of a proposed hypothetical strategic initiative before its
implementation.” In Sherwin-Williams’s case, the service contemplated was a confidential
evaluation of the potential effect of the proposed acquisition of Valspar, a maj or competitor of
Sherwin-Williams, on Sherwin-Williams’s credit rating.

26. lnforination that Sherwin-Williams shared with the Credit Ratings Agency in

connection with the RES was material and nonpublic.

Case 1:18-cv-05757-.]PO Document 6 Filed 06/27/18 Page 7 of 12

27. Pinto-Thomaz continued to Work on the Sherwin-Williams RES project and to
receive material nonpublic information about the upcoming Valspar acquisition on March 8, 9,
and 10, 2016.

28. For example, on the morning of March 10, 2016, Pinto-Thomaz received an email
from Sherwin-Williams attaching slides with detailed financial data on the proposed merger and
bearing the following header: “RES REVIEW OF VALSPAR ACQUISITION; [THE CREDIT
RATINGS AGENCY]; March 10, 2016; THE SHERWIN-WILLIAMS COMPANY; HIGHLY
CONFIDENTIAL.”

29. During the same three days, March 8, 9, and 10, 2016, Pinto-Thomaz had multiple
additional communications with Oujaddou.

30. On the afternoon of March 10, 2016, less than an hour after one such
communication with Pinto-Thomaz, Ouj addou made his first purchase ever of Valspar stock,
purchasing 1,000 shares in a personal trading account.

31. On March ll, 14, 17 and 18, 2016, Oujaddou made additional purchases of
Valspar stock.

32. Overall, between March 10 and 18, 2016, Oujaddou accumulated a total of 8,630
shares of Valspar stock, investing over $700,000 in the stock in approximately a week.

Ouj addou’s purchases of Valspar stock were made on the basis of material nonpublic
information tipped to him by Pinto-Thomaz.

33. The investment was unusual for Oujaddou. His purchase of Valspar stock
between March 10 and 18, 2016, was by far his largest investment in a single issuer’s securities
in a short span of time since at least 2010. lt was also substantially larger than any other

investment he made during that time period, aside from his frequent investments over the course

Case 1:18-cv-05757-.]PO Document 6 Filed 06/27/18 Page 8 of 12

of multiple years in the stock of a major technology company (the “Technology Company”).
lndeed, Ouj addou liquidated substantial portions of his investment in the Technology Company
to fund his Valspar stock purchases

C. Pinto-Thomaz Tips Millul and Millul Trades

34. ln the days preceding the Announcement, Pinto-Thomaz also tipped material
nonpublic information about the Valspar acquisition to his friend Millul.

35. On Sunday, March 13, 2016, at approximately 4:34 a.m., Millul opened a
brokerage account with the Online Broker. Prior to opening this account online, Millul did not
hold a brokerage account or trade on his own behalf

36. The next day, March 14, 2016, Pinto-Thomaz and Millul communicated
electronically using their personal electronic devices.

37. Two days later, on March 16, 2016, Millul called the Online Broker to request
permission to purchase options and trade on margin in his brand new account. That same day,
Millul also wired $100,000 into his account at the Online Broker as an opening deposit and
immediately purchased 480 shares of Valspar stock for approximately $40,000.

38. On Friday, March 18, 2016, after Millul received authorization to trade options,
he also purchased 75 out-of-the~money Valspar call options, expiring on April 15, 2016, with the
strike price of $90, for approximately $4,500.

39. Millul’s purchases of Valspar stock and options were made on the basis of
material nonpublic information tipped to him by Pinto-Thomaz.

D. Ouiaddou and Millul Profit from Their Illegal Trades
40. At 1:00 p.m. on Sunday, March 20, 2016, Sherwin-Williams and Valspar

announced the acquisition On the Monday following the Announcement, the price of Valspar

Case 1:18-cv-05757-.]PO Document 6 Filed 06/27/18 Page 9 of 12

shares increased by $19.39, or 23.13%, from the prior trading day’s closing price of 883.83 per
share, to close at 8103.22 per share.

41. Millul sold all of his Valspar stock and options that same moming, March 21,
2016, realizing a profit of approximately $lO7,000.

42. Ouj addou sold his shares of Valspar stock later that same week, on March 23 and
24, 2016, realizing a profit of approximately $l92,000. Oujaddou then immediately reinvested a
large portion of those proceeds in the stock of the Technology Company.

E. Pinto-Thomaz Lies in Response to a FINRA Inquirv

43. Shortly after the Announcement, on June 9, 2016, at the request of the Financial
lndustry Regulatory Authority (“FINRA”), an employee of the Credit Ratings Agency emailed
Pinto-Thomaz, along with certain other employees who worked on the Sherwin-Williams RES, a
list of individuals and entities (the “FINRA List”) and asked the recipients if they knew any of
the persons on the list. Ouj addou’s and Millul’s names both appeared on the FINRA List. The
email requested that all recipients respond by June 17, 2016.

44. On the afternoon of June 14, 2016, after receiving a reminder to respond to the
inquiry about the FINRA List, Pinto-Thomaz replied to the inquiry by email, stating: “No
relationship exists between myself and the individuals/entities listed.” Nine minutes later, Pinto-
Thomaz sought to recall the email, and then sent a revised response stating: “To the best of my
knowledge, no relationship exists between myself and the individuals/entities listed.”

F. Pinto-Thomaz, Ouiaddou, and Millul Acted with Scienter

45. At all relevant times, the Credit Ratings Agency’s policies required that its

employees, including Pinto-Thomaz, maintain the confidentiality of client-related information

and not use this information to trade in securities, or disclose it to others.

Case 1:18-cv-05757-.]PO Document 6 Filed 06/27/18 Page 10 of 12

46. Pinto-Thomaz provided tips about the Valspar acquisition to Ouj addou and Millul
in breach of his obligations under the Credit Ratings Agency’s policies and in breach of his duty
of trust and confidence to the Credit Ratings Agency. Pinto-Thomaz knew or recklessly
disregarded that he breached these duties by disclosing the material nonpublic information to
Ouj addou and Millul.

47. Pinto-Thomaz received a personal benefit from his tips of material nonpublic
information to his friends Ouj addou and Millul, including but not limited to the benefit of
providing gifts of the information to two close personal friends. Pinto-Thomaz also knew or
recklessly disregarded that Ouj addou and Millul would trade on Pinto-Thomaz’s tips.

48. Ouj addou and Millul each knew, were reckless in not knowing, should have
known, or consciously avoided knowing that the tips that Pinto-Thomaz provided to them were
conveyed in breach of a fiduciary duty, or a similar obligation arising from a relationship of trust
and confidence

49. Ouj addou and Millul purchased Valspar securities on the basis of Pinto~Thomaz’s
tips while knowing, or while reckless in not knowing, that the information they received from
Pinto-Thomaz was material and nonpublic.

FIRST CLAIM FOR RELIEF

Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Thereunder
(Against All Defendants)

50. The Commission realleges and incorporates by reference herein paragraphs l
through 49 above.

5 l. The Defendants, directly or indirectly, singly or in concert with others, in
connection with the purchase or sale of securities, by the use of the means or instrumentalities of
interstate commerce, or of the mails or the facilities of a national securities exchange, with

scienter: (a) employed devices, schemes, or artifices to defraud; (b) made untrue statements of a

10

Case 1:18-cv-05757-.]PO Document 6 Filed 06/27/18 Page 11 of 12

material fact or omitted to state a material fact necessary in order to make the statement made, in
light of the circumstances under which they were made, not misleading; and/or (c) engaged in
acts, transactions, practices, or courses of business which operated or would operate as a fraud or
deceit upon other persons.

52. By reason of the foregoing, the Defendants, directly or indirectly, singly or in
concert with others, each violated, and unless enjoined will again violate, Section 10(b) of the
Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

PRAYER FOR RELIEF

WHEREFORE, the Commission respectfully requests that this Court enter a Final
Judgment:

I.

Permanently restraining and enjoining each of the Defendants and their respective agents,
servants, employees and attorneys and all persons in active concert or participation with them
who receive actual notice of the injunction by personal service or otherwise from violating
Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [l7 C.F.R. §
240. 1 0b-5] .

II.

Ordering the Defendants to disgorge all of the unlawful trading profits and all other ill-
gotten gains resulting from the violations alleged in this Complaint, and ordering each of them to
pay prejudgment interest thereon.

III.
Ordering each of the Defendants to pay civil monetary penalties pursuant to Section 21A

ofthe Exchange Act [15 U.S.C. § 78u-l].

ll

Case 1:18-cv-05757-.]PO Document 6 Filed 06/27/18 Page 12 of 12

IV.

Granting such other and further relief as this Court may deem just and proper.

Dated: New York, New York

June 26, 2018

eph G. Stlrisone/
Simona K. Suh
David C. Austin
Melanie A. MacLean

SECURITIES AND EXCHANGE COMMISSION
New York Regional Office

Brookfield Place

200 Vesey Street, Suite 400

New York, New York 10281-1022

(212) 336-9146 (Austin)

austinda@sec. gov

12

